      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 1 of 41



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT TEXAS
                                HOUSTON DIVISION

JASON MCGEHEE, et al.,                    §
     Plaintiffs,                          §
                                          §           Case No. 4:18-mc-01546
v.                                        §
                                          §           Related to E.D. Ark. Case
TEXAS DEPARTMENT OF                       §           No. 4:17-CV-00179-KGB
CRIMINAL JUSTICE,                         §
     Defendant.                           §


      TEXAS DEPARTMENT OF CRIMINAL JUSTICE’S DISPOSITIVE MOTION TO
     DISMISS PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH SUBPOENA


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       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 2 of 41



                                                     TABLE OF CONTENTS

Table of Authorities ....................................................................................................................... iii

I.         Summary of litigation and defective issuance and service of summons and
           subpoena ..............................................................................................................................1

II.        The subpoena has not been served on TDCJ’s custodian of records ..................................2

III.       The documents requests identified in the subpoena are overbroad .....................................5

IV.        No production costs were paid to Sherri Jackson. ...............................................................5

V.         Privilege ...............................................................................................................................6

VI.        Applicable Procedure .........................................................................................................14

VII.       Privilege Log ......................................................................................................................16

VIII.      Documents identified in the subpoena are not relevant to this litigation ...........................18

IX.        Deliberative Process Privilege ...........................................................................................27

X.         Plaintiffs’ argument that any TDCJ employee may be served with a subpoena
           has no merit ........................................................................................................................28

Conclusion .....................................................................................................................................29

Certificate of Service .....................................................................................................................32




                                                                         ii
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 3 of 41



                                               TABLE OF AUTHORITIES
Cases

Aeritas, LLC v. Delta Airlines, Inc.,
  2013 U.S. Dist.LEXIS 22654, *5 (N.D. Ga., 2013) .................................................................. 17

Arthur v. Commissioner, Alabama Dep't of Corrections,
  840 F.3d 1268 (11th Cir. 2016) . …………………….. ………… ………………………. 9, 18

Arthur v. Dunn,
  2016 U.S. Dist. LEXIS 50756, *24 (M. D. Ala 2016) .............................................................. 27

Bahrami v. Maxie Price Chevrolet-Oldsmobile, Inc.,
  2013 U.S. Dist. LEXIS 189691 *12-13 (N.D. Ga. 2013) ................................................... 17, 21

Baze v. Rees,
  553 U.S.35 (2008) ................................................................................................................. 1, 18

Benford v. American Broadcasting,
98 F.R.D. 40 (D.Md.1983) ............................................................................................................ 28

Boyd v. Warden, Holman Correctional Facility,
  856 F.3d 853 (11th Cir. 2017) ................................................................................................... 19

Bryan v. State,
  753 So. 2d 1244 (Fla. 2000) ...................................................................................................... 14

Camreta v. Greene,
  563 U.S. 692, 131 S.Ct. 2020, 179 L.Ed.2d 1118 (2011) ......................................................... 29

Chima v. U.S. Department of Defense,
  23 F.App'x 721 (9th Cir.2001) .................................................................................................. 28

Cooey v. Strickland,
  604 F.3d 939 (6th Cir. 2010) ....................................................................................................... 9

Daubert v. NRA Group, LLC,
 861 F.3d 382 (3rd Cir. July 3, 2017) ......................................................................................... 29

Dering v. Serv. Experts Alliance LLC,
 2007 U.S. Dist. LEXIS 89972 *2 (N.D. Ga. 2007) ................................................................... 21

Doe v. Hersemann,
 155 F.R.D. 630 (N.D.Ind.1994) ................................................................................................ 28

Dole v. Milonas,
 889 F.2d 885 (9th Cir. 1991) ..................................................................................................... 16




                                                                    iii
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 4 of 41



Doss v. Helpenstell,
 699 Fed.Appx. 337 (5th Cir. 2017) .......................................................................................... 28

E.E.O.C. v. Jack Marshall Foods, Inc.,
  2010 U. S. Dist LEXIS 172, *6 (S. D. Ala 2010) ..................................................................... 17

E.E.O.C. v. Original Honeybaked Ham Co. of Georgia, Inc.,
  2012 U.S.Dist. LEXIS 37107 *3 ............................................................................................... 17

E.E.O.C. v. S. Haulers,
  2012 WL 1768064 ..................................................................................................................... 17

Electronic Data Systems Corp. v. Steingraber,
  2003 WL 21653414 (E.D. Tex.2003) ....................................................................................... 28

First Amendment Coalition of Arizona, Inc., et al., v. Ryan,
  No. 2:14-CV-01447-NVW-JFM, 2016 WL 2893413 (D. Ariz. May 28, 2016) ................. 10, 13

Flynn v. Roanoke Cos. Group, Inc.,
  2007 U.S. Dist. LEXIS 93716, 21 (N.D. Ga. 2007) .................................................................. 17

Ga. Aquarium, Inc. v. Pritzker,
 134 F. Supp. 3d 1374 (N.D. Ga. 2014) ..................................................................................... 27

Georgia Dept. of Corrections v. Jordan et al., Cause,
 No. 1:16-cv-02582-RWS-JCF, 2016 WL 9776069 (N. D. Ga.2016) ....................................... 22

Gissandaner v. Ga. Dep’t of Corr.,
  779 F.3d 1275 (11th Cir. 2015) ....................................................................................... 7, 23, 26

Gissandaner, v. Commissioner, Georgia Department of Corrections,
  803 F.3d 565 (11th Cir. 2015) ......................................................................................... 7, 18, 26

Glossip v. Gross,
  135 S.Ct.2726 (2015) ....................................................................................................... 1,18, 19

Hamm v. Dunn,
 2018 WL 723104 (N.D. Al., February 6, 2018) ........................................................................ 18

In re Grand Jury Proceedings,
  832 F.2d 554 (11th Cir. 1987) ................................................................................................... 22

In re Lombardi,
  741 F.3d 888 (8th Cir. 2014) .............................................................................................. 14, 23




                                                                   iv
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 5 of 41



In re Mo. Dep't Corr.,
  839 F.3d 732 (8th. Cir. 2016) .............................................................................................. 5, 8, 9

In re Ohio Execution Protocol (Fears v. Morgan),
  860 F.3d 881 (6th Cir. 2017) ..................................................................................................... 18

In re Ohio Execution Protocol Litigation,
  881 F.3d 447 (6th Cir. 2018) ..................................................................................................... 18

In re Ohio Execution Protocol Litigation,
  No. 2:11-cv-1016, 2017 WL 5020138, (S.D. Ohio, November 3, 2017).................................. 19

In re Subpoena Duces Teucm to AOL, LLC,
  550 F. Supp. 2d 606 (E.D. Va. 2008) .......................................................................................... 5

In re: Virginia Dep't of Corrections v. Jordan,
  No. 3:17mc02, 2017 WL 5075252 (E.D. Va. Nov. 3, 2017) .............................................. 5, 8, 9

Jones v. Comm’r, Ga. Dep’t of Corr.,
  811 F.3d 1288 (11th Cir.2016) ............................................................................................ 13, 26

Jordan v. Hall,
  No. 3:15CV295HTW-LRA, 2018 WL 1546632 at *9-11 (March 29, 2018)………………..7,19

Kelley v. Johnson, No CV-15-992,
  496 S.W.3d 346 (Ark. 2016) ........................................................................................... 20,23,24

Laun v. Laun,
  No. 1:06–CV–246, 2007 WL 178607 n. 1 (N.D.Ind. Jan.19, 2007) ......................................... 28

Liles v. Stuart Weitzman, LLC,
  2010 U.S. Dist. LEXIS 53584, 2010 W L 1839229 (S. D. Fla. 2010) ...................................... 17

Lockett v. Evans,
  330 P.3d 488 (Okla. 2014) .................................................................................................. 14, 24

Maiz v. Virani,
 311 F.3d 334 (5th Cir. 2002) ....................................................................................................... 3

McClendon v. TelOhio Credit Union, Inc.,
 No. 2:05–CV–1160, 2006 WL 2380601 (S.D.Ohio Aug.14, 2006) ......................................... 28




                                                                  v
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 6 of 41



McGehee v. Hutchinson,
 854 F.3d 488 (8th Cir. 2017) ....................................................................................................... 1

Micro Motion, Inc. v. Kane Steel Co.,
 894 F.2d 1318 (Fed. Cir. 1990) ................................................................................................. 15

Ohio Execution Protocol Litigation,
 845 F.3d 231 (6th Cir. 2016) ................................................................................................... 5, 9

Owens v. Hill,
 758 S.W. 2d 794 (Ga. 2014)................................................................................ 7, 13, 22, 23, 25

Pardo v. State,
  108 So. 3d 558 (Fla. 2012) .................................................................................................. 14, 23

Phillips v. DeWine,
  92 F. Supp. 3d 702 (S.D. Ohio 2015) .................................................................................. 14, 24

Porter v. Ray,
  461 F.3d 1315 (11th Cir. 2006) ................................................................................................. 22

Powell v. Time Warner Cable, Inc.,
  No. 2:09–cv–00600, 2010 WL 5464895 (S.D. Ohio Dec. 30, 2010) ........................................ 28

Premium Serv. Corp. v. Sperry & Hutchinson Co.,
  511 F.2d 225 (9th Cir. 1975) ..................................................................................................... 24

Pride Family Brands, Inc. v. Carls Patio, Inc.,
  2013 U.S. Dist. LEXIS 123787, 2013 (S.D. Fla. 2013) .............................................................. 6

Schad v. Brewer,
  No. CV-13-2001-PHX-ROS, 2013 WL 5551668 (D. Ariz. 2013) .......................................... 14

Sepulvado v. Jindal,
  729 F.3d 413 (5th Cir. 2013) .............................................................................................. 14, 23

Small v. Provident Life and Acc. Ins. Co., No. CIV. A.,
  98–2934, 1999 WL 1128945 (E.D. Pa. 1999) ........................................................................... 24

Somer v. Johnson,
  704 F.2d 1473 (11th Cir. 1983) ................................................................................................. 21

Taylor v. Countrywide Home Loans,
  No. 08–13258, 2009 WL 1913417 (E.D.Mich. June 30, 2009) ................................................ 28




                                                                  vi
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 7 of 41



Taylor v. Nix,
  451 F. Supp. 2d 1351 (N. D. Ga. 2006) .............................................................................. 23, 26

Terrel v. Bryson,
  807 F. 3d 1276 (11th Cir. 2015) ................................................................................................ 26

Theofel v. Farey-Jones,
  359 F.3d 1066 (9th Cir. 2004) ..................................................................................................... 5

Threadgill v. Armstrong World Indus., Inc.,
  928 F.2d 1366 (3d Cir. 1991) .................................................................................................... 29

Trottie v. Livingston,
  766 F.3d 450 (5th Cir. 2014) ................................................................................................. 6, 13

United States v. Omnicare, Inc.,
 2015 U.S. Dist. LEXIS 104819 (M.D. Ga. 2015) ................................................................. 4, 14

U.S. v. $184,505.01,
  72 F.3d 1160................................................................................................................................ 3

Valle v. Singer,
  655 F.3d 1223 (11th Cir. 2011) ................................................................................................. 13

Wellons v. Comm'r, Georgia Dept. of Corrections,
 754 F.3d 1260 (11th Cir.2014) ................................................................................ 10, 14, 23, 26

West v. Schofield,
 460 S.W. 3d 113 (Tenn. 2015) .................................................................................................. 23

Whitaker v. Collier,
 862 F.3d 490 (5th Cir. 2017) ....................................................................................................... 6

Whitaker v. Livingston,
 No. H-13-2901 2016 WL 3199532 (S.D. Tex., June 6, 2016) .................................................... 6

Wiwa v. Royal Dutch Petroleum Co.,
 392 F.3d 812 (5th Cir. 2004) ............................................................................................... 19, 24

Yohey v. Collins,
  985 F.2d 222 (5th Cir. 1993) ..................................................................................................... 28

Zink v. Lombardi,
  783 F.3d 1089 (8th Cir.2015) ........................................................................................ 11, 14, 23

Codes

Tex. Civ. Prac. & Rem. Code Sec. 22.001(a) ................................................................................. 6



                                                                      vii
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 8 of 41



Tex. Civ. Prac. & Rem. Code Sec. 22.004...................................................................................... 6

Tex. Civ. Prac. & Rem. Code Sec. 101.102(c) ............................................................................... 2

Tex. Code Crim. Proc. art. 43.14, ..................................................................................... 11, 17, 20

Tex. Code Crim. Proc. art. 43.14(b) ........................................................................... 11, 17, 20, 22

Tex. Code Crim. Proc. art. 43.14(b)(1)(2) .................................................................................... 21

Tex. Code Crim. Proc. art. 43.14(b)(2) ............................................................................. 17, 20, 21

Tex. Gov't. Code § 552.021, ............................................................................................. 11, 17, 20

Tex. Gov't. Code § 552.352 ................................................................................................ 3, 11, 22

Tex. Gov't. Code § 552.1081 ...................................................................................... 11, 17, 20, 22

Tex. Pen. Code § 39.02 ................................................................................................................. 12

Tex. Pen. Code § 39.09 ................................................................................................................. 22

Rules

Fed. R. Civ. P. 12(b) (4), (5), and (6) ............................................................................................ 1

Fed. R. Civ. P. 12(b)(4), (5), (6) and 45(D)(2)(B) ........................................................................ 29

Fed. R. Civ. P. 26 and 45 .............................................................................................................. 24

Fed. R. Civ. P. 26(b) ............................................................................................................... 16, 21

Fed. R. Civ. P. 26(c)(1) ................................................................................................................. 24

Fed. R. Civ. P. 45 .............................................................................................................. 16, 27, 28

Fed. R. Civ. P. 45(b)(1)................................................................................................................... 6

Fed. R. Civ. P. 45(d)(1) and 45(d)(3) ............................................................................................. 3

Fed. R. Civ. P. 45(d)(2)(B) ............................................................................................... 14, 28, 30

Fed. R. Civ. P. 45(d)(2)(B), 45(e)(2)(A)......................................................................................... 4

Fed. R. Civ. P. 45(d)(2)(B)(ii), 45(d)(3)(A), (g) ............................................................................. 4

Fed. R. Civ. P. 45(d)(3)(A) ........................................................................................................... 15

Fed. R. Civ. P. 45(d)(3)(A) (iii), (iv) ............................................................................................ 16



                                                                    viii
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 9 of 41



Fed. R. Civ. P. 45(d)(3)(A) (iv) ...................................................................................................... 6

Fed. R. Civ. P. 45(e)(2)(a) ............................................................................................................ 15

Fed. R. Civ. P. 45(g) ............................................................................................................... 15, 29

Other Authorities

O.C.G.A 42-5-36........................................................................................................................... 21




                                                                     ix
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 10 of 41



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT TEXAS
                                       HOUSTON DIVISION

JASON MCGEHEE, et al.,                               §
     Plaintiffs,                                     §
                                                     §                 Case No. 4:18-mc-01546
v.                                                   §
                                                     §                 Related to E.D. Ark. Case
TEXAS DEPARTMENT OF                                  §                 No. 4:17-CV-00179-KGB
CRIMINAL JUSTICE,                                    §
     Defendant.                                      §

      TEXAS DEPARTMENT OF CRIMINAL JUSTICE’S DISPOSITIVE MOTION TO
     DISMISS PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH SUBPOENA

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

           The Texas Department of Criminal Justice (TDCJ) moves to dismiss Plaintiffs’ Motion to

Compel Compliance with a subpoena (ECF 1) for failure to state a claim and for insufficient

service of process pursuant , Fed. R. Civ. Proc. 12(b) (4), (5), and (6), as follows:

I.         Summary of litigation and defective issuance and service of summons and subpoena

           The litigation history of this case is set out in McGehee v. Hutchinson, 854 F.3d 488, 492

(8th Cir. 2017) (en banc) (cert. denied, 137 S.Ct. 1275, (2017). The 8th Circuit held that:

           The possibility that Arkansas could acquire pentobarbital for use in executions is too
           speculative to justify stays of execution. Arkansas made at least three unsuccessful
           inquiries about obtaining barbiturates in 2015, and the difficulty of obtaining drugs for use
           in lethal injection is well documented. Sevoflurane gas and nitrogen hypoxia have never
           been used to carry out an execution. With no track record of successful use, these methods
           are not likely to emerge as more than a “slightly or marginally safer alternative.” Glossip,
           135 S.Ct. at 2737; see *494 Baze, 553 U.S. at 41, 128 S.Ct. 1520 (discussing “untried and
           untested alternatives”).1 The firing squad has been used by only one State since the 1920s.
           It requires trained marksmen who are willing to participate and is allegedly painless only
           if volleys are targeted precisely. The record comes short of establishing a significant
           possibility that use of a firing squad is readily implemented and would significantly reduce
           a substantial risk of severe pain.




1
    Baze v. Rees, 553 U.S. 35(2008).


                                                     1
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 11 of 41



          Plaintiffs filed a new civil proceeding and issued a summons directed to TDCJ and to

former director Brad Livingston, the former Executive Director, seeking enforcement of an

unserved or improperly served subpoena. ECF 2, 3. Plaintiffs correctly recognized that to serve

TDCJ, service on its Executive Director is required. Tex. Civ. Prac. & Rem. Code 101.102(c)

requiring service “on the administrative head of the governmental unit”. The administrative head

of      TDCJ,      since    August       1,   2016,      is   Brian     Collier,     not    Brad     Livingston.

http://www.tdcj.texas.gov/TDCJ_announces_new_executive_director.html.2 The subpoena duces

tecum Plaintiffs seek compliance with, Exhibit 1 attached, was not served on TDCJ’s custodian

of records, despite the undersigned having repeatedly noticed Plaintiffs’ counsel of this deficiency

and offered to identify the name, title and location of the custodian of records sought.

II.       The subpoena has not been served on TDCJ’s custodian of records

          On February 22, 2018, a subpoena duces tecum was served on TDCJ Human Resource

Specialist I, Sherri Jackson. Exhibit 1 attached. Ms. Jackson cannot be compelled to comply with

the subpoena because she does she have possession or control of the documents sought. A federal

court cannot compel a person to produce something the person does not have and cannot access.

Objections to the subpoena were filed putting Plaintiffs’ counsel on notice that the subpoena was

not served on a person who possess those records. The undersigned offered to provide the records

custodians’ contact information but Plaintiffs’ counsel expressed d no interest in this information.

Ms. Jackson does not have the ability or authority to comply with a subpoena requiring production

of records that are not accessible by her. Sherri Jackson is not the designated custodian of those

records. She has no authority to access, copy or send TDCJ records to anyone and is prohibited by

Texas law as well as TDCJ Employee Rules. TDCJ’s designated custodians of the records



2
    A summons was also served on Sherri Jackson. She is also not the TDCJ Director, who is Brian Collier.


                                                         2
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 12 of 41



identified in the subpoena have not been served. Ms. Jackson has no present ability to comply with

this subpoena, is not authorized to authenticate or produce such records, these records are not in

her possession or control and she would be subject to disciplinary measures for violation of TDCJ

employee rules if she attempted to access such records. See Exhibit 2, affidavit attached. If she

disregarded TDCJ employee rules and obtained and provided those records to Plaintiffs, she could

also be prosecuted under Texas law. 3

        Likewise, service of a subpoena on the undersigned attorney for TDCJ is not sufficient

service of the subpoena on TDCJ. Maiz v. Virani, 311 F.3d 334, 340 (5th Cir. 2002)

        The judgment creditors contend that service was made on the Sanig's attorney of record by
        facsimile. This argument is unavailing. Putting to one side the issue of whether the attorney
        allegedly served by fax was appellants' attorney of record, there is no evidence that the
        alleged attorney had the actual authority to accept service of process. Therefore, the alleged
        service was not valid. U.S. v. $184,505.01, 72 F.3d 1160, 1164, n. 10 (3rd Cir.1995, cert.
        denied by McGlory v. U.S., 519 U.S. 807, 117 S.Ct. 48, 136 L.Ed.2d 13 (1996)) (validity
        of service of process upon the attorney depends upon the actual authority of the attorney to
        receive process on behalf of the individual.

        The actual custodians of the records identified in the subpoena are:

        Ron Steffa                                          Lorie Davis
        Deputy Chief Financial Officer                      Director Correctional Institutions Division
        861-B IH 45 North, Room #216                        861-B IH 45 North, Room #226
        Huntsville, TX 77320                                Huntsville, TX 77320

        Sharon Howell
        General Counsel
        861-B IH 45 North, Room #111
        Huntsville, TX 77320

        None of them have been served with the subpoena that is the subject of Plaintiffs’ Motion

to Compel. Federal Rule of Civil Procedure 45(d)(1) and 45(d)(3) permit this Court to quash a

subpoena when compliance requires the disclosure of privileged information or when it subjects a


3
  Violation of TEX GOV’T CODE 552.352. DISTRIBUTION OR MISUSE OF CONFIDENTIAL INFORMATION
is punishable by a fine of not more than $1,000 and/or confinement in the county jail for not more than six months.



                                                        3
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 13 of 41



person to undue burden.

          (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

          (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for
          issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
          or expense on a person subject to the subpoena.
          …

          (3) Quashing or Modifying a Subpoena.

          (A) When Required. On timely motion, the court for the district where compliance is
          required must quash or modify a subpoena that:

          (iii) requires disclosure of privileged or other protected matter, if no exception or waiver
          applies; or

          (iv) subjects a person to undue burden.

          It would be an “undue burden” for Sherri Jackson to subject herself to termination and

criminal prosecution to produce documents she does not have, cannot access and which are

privileged from disclosure by Texas civil and criminal statutes. If a records custodian had been

served, compliance may be compelled in the Southern District of Texas where the records are

located and where the custodian of those records resides. Fed. R. Civ. Proc. 45(d)(2)(B)(ii),

45(d)(3)(A), (g). United States v. Omnicare, Inc., 2015 U.S. Dist. LEXIS 104819 (M.D.Ga. 2015).

(dismissing a motion to quash for lack of jurisdiction because the place of compliance was in

Philadelphia, not in the Middle District of Georgia where the suit was filed). A non party serving

objections on the party issuing the subpoena need not comply with subpoena directives, but, may
                                                                                                                 4
instead, serve the issuing party with its objections. Fed. R. Civ. Proc. 45(d)(2)(B), 45(e)(2)(A).



4
    (2) Claiming Privilege or Protection.
    (A) Information Withheld. A person withholding subpoenaed information under a claim that it is privileged or
         subject to protection as trial-preparation material must:
    (i) expressly make the claim; and
    (ii) describe the nature of the withheld documents, communications, or tangible things in a manner that, without
         revealing information itself privileged or protected, will enable the parties to assess the claim that date.


                                                          4
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 14 of 41



III.      The documents requests identified in the subpoena are overbroad

          Exhibit 1, Attachment A directs TDCJ to produce documents unlimited in time. TDCJ,

previously called the Texas Department of Corrections, is organized under Tex. Gov’t. Code

Chapter 493 (Acts 1991). It has existed since 1848, when the Texas Legislature passed "An Act to

Establish a State Penitentiary”.5 Accordingly, Exhibit 1 requests documents either generated in

the last 27 years since TDCJ’s statutory organization in 1991, or documents generated in the last

170 years, since its creation in 1848 depending on which statute is used. Unlimited document time

ranges are overbroad and unduly burdensome. In re: Virginia Dep't of Corrections v. Jordan, No.

3:17mc02, 2017 WL 5075252 at *5 (E.D. Va. Nov. 3, 2017):

          In order to avoid imposing an undue burden, third-party subpoenas, like the one before the
          Court, “must be narrowly crafted to relevant subject matter in the underlying litigation.”
          Id. at *6 n.6 (citing Theofel v. Farey-Jones, 359 F.3d 1066, 1071–72 (9th Cir. 2004); In re
          Subpoena Duces Teucm to AOL, LLC, 550 F. Supp. 2d 606, 612 (E.D. Va. 2008)).

          Therefore, in assessing whether a subpoena imposes an undue burden

                   [c]ourts should balance the need for discovery against the burden imposed on the
                   person ordered to produce documents. Non-party status is one of the factors the
                   court uses in weighing the burden of imposing discovery. An undue burden is
                   identified by looking at factors such as relevance, the need for the documents, the
                   breadth of the document request, the time period covered by such request, the
                   particularity with which the documents are described, and the burden
                   imposed.…disclosures pursuant to a subpoena that impede a state's ability to carry
                   out executions constitute an undue burden. See Ohio Execution Protocol Litigation,
                   845 F.3d 231, 238–39 (6th Cir. 2016); In re Mo. Dep't Corr., 839 F.3d 732, 737
                   (8th. Cir. 2016).

IV.       No production costs were paid to Sherri Jackson.

          Fees for copying and producing documents were not tendered to Ms. Jackson when the

subpoena was delivered to her. A subpoena may be quashed if it subjects a person to undue burden.


5
    https://en.wikipedia.org/wiki/Texas_Department of Criminal Justice
    https://tshaonline.org/handbook/online/articles/jjp03



                                                         5
     Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 15 of 41



Fed. R. Civ. Proc., Rule 45(d)(3)(A) (iv). Exhibit 1 was served without payment of copy costs or

witness fees. Fed. R. Civ. P. 45(b)(1). Witnesses and document providers may not be subjected to

undue financial burdens and are entitled to compensation for subpoena compliance. Tex. Civ. Prac.

& Rem. Code Sec. 22.001(a):

       WITNESS FEES. (a) Except as provided by Section 22.002, a witness is entitled to 10
       dollars for each day the witness attends court. This fee includes the entitlement for travel
       and the witness is not entitled to any reimbursement for mileage traveled.

       Tex. Civ. Prac. & Rem. Code Sec. 22.004:

       Sec. 22.004. FEE FOR PRODUCTION OR CERTIFICATION OF
       DOCUMENTS.

       (a) A custodian of a record who receives a request for production or certification of a record
       under a subpoena, a request for production, or other instrument issued under the authority
       of a tribunal that compels production or certification of a record is entitled to $1 for
       production or certification of the record. If more than one record is produced or certified,
       the custodian of the records is entitled to only one fee under this section.
       ...
       (c) The party who requests production or certification of a record shall pay the fee required
       for the record, as provided by this section, at the time the subpoena, request, or other
       instrument is served.
       ...

       (e) The fee required by this section is in addition to any other fee imposed by law for the
       production or certification of a record.

       Absent personal service on TDCJ’s designated custodian of records of a subpoena together

with the required witness, production and certification fees, this subpoena is unenforceable. Pride

Family Brands, Inc. v. Carls Patio, Inc., 2013 U.S. Dist. LEXIS 123787, 2013 (S.D. Fla. 2013).

V.     Privilege

       TDCJ changed from a three-drug to a one-drug lethal injection protocol in 2012. Whitaker

v. Collier, 862 F.3d 490, 496 (5th Cir. 2017); Whitaker v. Livingston, No. H-13-2901 2016 WL

3199532, at *5 (S.D. Tex., June 6, 2016), quoting Trottie v. Livingston, 766 F.3d 450, 453 (5th



                                                 6
     Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 16 of 41



Cir. 2014). However, the number of drugs used or whether there is one or more than one supplier,

in either circumstances, the subpoenaed items are privileged and confidential under Texas law.

Disclosure of the items identified in Exhibit 1 will result in the cessation of executions in Texas,

as its supplier is likely to cease supplying Texas. See Exhibit 4, declaration of TDCJ’s supplier.
6
    This has been recognized as a significant risk in numerous jurisdictions. Jordan v. Hall, No.:

3:15CV295HTW-LRA, 2018 WL 1546632 at *9-11 (March 29, 2018):

         …as anti-death-penalty advocates pressured pharmaceutical companies to refuse to supply
         the drugs used to carry out death sentences. The sole American manufacturer of sodium
         thiopental, the first drug used in the standard three-drug protocol, was persuaded to cease
         production of the drug. After suspending domestic production in 2009, the company
         planned to resume production in Italy. Koppel, Execution Drug Halt Raises Ire of Doctors,
         Wall Street Journal, Jan. 25, 2011, p. A6. Activists then pressured both the company and
         the Italian Government to stop the sale of sodium thiopental for use in lethal injections in
         this country. Bonner, Letter from Europe: Drug Company in Cross Hairs of Death Penalty
         Opponents, N.Y. Times, Mar. 30, 2011; Koppel, Drug Halt Hinders Executions in the U.S.,
         Wall Street Journal, Jan. 22, 2011, p. A1. That effort proved successful, and in January
         2011, the company announced that it would exit the sodium thiopental market entirely. See
         Hospira, Press Release, Hospira Statement Regarding Pentothal ™ (sodium thiopental)
         Market Exit (Jan. 21, 2011).

         After other efforts to procure sodium thiopental proved unsuccessful, States sought an
         alternative, and they eventually replaced sodium thiopental with pentobarbital, another
         barbiturate…

         Before long, however, pentobarbital also became unavailable. Anti-death-penalty
         advocates lobbied the Danish manufacturer of the drug to stop selling it for use in
         executions. See Bonner, supra. That manufacturer opposed the death penalty and took steps
         to block the shipment of pentobarbital for use in executions in the United States. Stein,
         New Obstacle to Death Penalty in U.S., Washington Post, July 3, 2011, p. A4. Oklahoma
         eventually became unable to acquire the drug through any means. The District Court *2734
         below found that both sodium thiopental and pentobarbital are now unavailable to


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  Owens v. Hill, supra, 295 Ga. 302, 317 (2014) (“without the confidentiality offered to execution participants by the
statute, as the record and our case law show, there is a significant risk that persons and entities necessary to the
execution would become unwilling to participate.”); Gissandaner, v. Commissioner, Georgia Department of
Corrections, 803 F.3d 565, 569 (11th Cir. 2015) (“to require...that Georgia open up about its source of pentobarbital
would result in the drug becoming completely unavailable for use in executions.”); Gissandaner v. Ga. Dep’t of
Corr., 779 F.3d 1275, 1283 (11th Cir. 2015 (cert. den. Gissandander v. Bryson, 135 S. Ct. 1580 (2015) (holding that
in an eighth amendment challenge, the source of the drug and the qualifications of the individual administering it are
not relevant).



                                                           7
Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 17 of 41



  Oklahoma. App. 67–68.
  …
  For these reasons, other courts have also protected this type of information from disclosure.
  Earlier, counsel for Plaintiffs in this case served subpoenas on the correctional departments
  of several Defendants to discover the identities of their suppliers. Missouri, Virginia,
  Alabama, and Ohio come to mind.

  Missouri: The Missouri Department of Corrections, among others, sought court protection
  from the subpoenas, and that dispute went to the Eighth Circuit Court of Appeals. As is the
  case here, Missouri's Department of Corrections claimed that its drug supplier had
  announced that it would refuse to supply further drugs if its identity was disclosed to
  anyone. In light of this potential elimination of Missouri's supplier, the court granted
  Missouri's request for relief. In so doing, the Eighth Circuit noted that compelling Missouri
  to identify its supplier “will not help the inmates establish the existence of an available
  alternative method of execution.” In re Missouri Dep't of Corrections, 839 F.3d 732, 736
  (8th Cir. 2016). Moreover, as shown, eliminating that supplier as a source for execution
  drugs would cause an undue burden on Missouri, justifying protection under Fed.R.Civ.P.
  4512. Requiring confidentiality by means of a protective order to limit disclosure is not a
  satisfactory solution, both because the supplier would not sell any more drugs if its identity
  was disclosed to anyone, as well as the risk, perhaps particularly great in this type of
  litigation, that an unintended disclosure to persons not directly related to this lawsuit would
  occur. Id. at 737.

  Virginia: A similar request was made by subpoena to the Virginia Department of
  Corrections, which filed a motion to quash. Although the situation was slightly different,
  the test was the same. There, the Department of Corrections refused to provide information
  that would disclose the name of its supplier or the members of its execution team. The
  district court granted the motion to quash, holding that “disclosures pursuant to a subpoena
  that impede a state's ability to carry out executions constitute an undue burden.” In re:
  Virginia Dep't of Corrections v. Jordan, 2017 WL 5075252 at *5 (E.D. Va. Nov. 3, 2017).
  Alabama: In a case out of Alabama that did not involve these Plaintiffs, the district court
  limited discovery of the supplier of lethal injection drugs, instead requiring the State to
  produce a “general description” of its efforts to obtain pentobarbital, identifying whether
  it had been successful in obtaining the drug, and, if not, why not. Arthur v. Commissioner,
  Alabama Dep't of Corrections, 840 F.3d 1268, 1304-05 (11th Cir. 2016). The Eleventh
  Circuit affirmed the lower court, stating, “This information was precisely what Arthur
  needed to prove his Eighth Amendment claim.” 840 F.3d at 1305. In that case, Thomas D.
  Arthur, a death row inmate who brought § 1983 action against Commissioner of Alabama
  Department of Corrections, challenged the State's method of execution under Eighth and
  Fourteenth Amendments. Refusing to expand the scope of discovery, the court found that
  the prisoner “has given us no reason to think that the ADOC13 lied or presented false
  evidence either during discovery or at trial and, indeed, the district court noted that the
  ADOC had claimed to produce everything of relevance.” Id.

  *11 Ohio: Similarly, the Sixth Circuit has affirmed a district court's limitation of discovery
  in a challenge to a lethal injection protocol. After explaining the analysis that should be



                                            8
Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 18 of 41



  conducted when considering a protective order, the court said, “Good cause exists if
  ‘specific prejudice or harm will result’ from the absence of a protective order.” In re Ohio
  Execution Protocol Litigation, 845 F.3d 231, 236 (6th Cir. 2016). Reviewing evidence of
  pressure applied to pharmacies supplying lethal injection drugs, the district court found
  that the potential harm and prejudice to those pharmacies was demonstrated by the
  evidence provided by the State. If the drugs thereby became unavailable, “Defendants will
  suffer an undue burden and prejudice in effectuating Ohio's execution protocol and
  practices.” Id. at 239 (citing Cooey v. Strickland, 604 F.3d 939, 946 (6th Cir. 2010)).
  Moreover, even though the district court used the State's law on confidentiality of
  information regarding lethal injection, “this result does not federalize the Ohio secrecy law
  as a common-law privilege for immunity. The district court referenced the statute as an
  evidentiary data point for analysis only.”

  With regard to the identity of people involved in the execution process, the Court's analysis
  is based on the balancing required by Rule 26(c), regardless of whether those people would
  be covered under the Mississippi statute. Many of the cases cited above considered
  protecting the identities of execution team members to be akin to protecting the identities
  of suppliers. In re Ohio Execution Protocol, 845 F.3d at 238-39; In re Missouri Dep't of
  Corrections, 839 F.3d at 737; In re Virginia Dep't of Corrections, 2017 WL 5075252 at *
  *19-22. In conducting this analysis, this Court believes that an opinion from the Supreme
  Court of Tennessee best explains the problem:

         Any constitutionally valid means of execution requires the participation of
         numerous individuals (collectively, “the Participants”). Nevertheless, the execution
         of condemned inmates remains a highly divisive and emotionally charged topic in
         Tennessee. Revealing the identities of the Participants, even subject to a protective
         order, creates a risk that the Participants would be deterred from performing their
         lawful duties.
         …

  Here, the Plaintiffs say that they need information on suppliers and personnel to show that
  their alternative execution drug, pentobarbital, is available. The Defendants counter that
  the Plaintiffs could themselves obtain information to support that claim by simply creating
  a list of pharmacies and calling them to determine whether any would be willing to sell
  pentobarbital to the Mississippi Department of Corrections for use in executions. As the
  Eleventh Circuit held, “The evidentiary burden is on [the Plaintiff] to show that ‘there is
  now a source for pentobarbital that would sell it to the ADOC for use in executions.’ ”
  Arthur v. Commissioner, Alabama Department of Corrections, 840 F.3d 1268, 1302 (11th
  Cir. 2016). The burden is not on the Department of Corrections to show that it cannot
  acquire the drug. Id. at 1303.

  The Court has reviewed these arguments and the applicable law and is of the opinion that,
  on balance, the hardship to the Defendants of preventing them from obtaining lethal
  execution drugs outweighs the Plaintiffs' need for this information, which could be
  gathered by other means. Entry of a protective order merely limiting the dissemination of
  information is an unsatisfactory alternative, as the drug supplier has made it clear that it



                                            9
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 19 of 41



       will discontinue selling the necessary drugs if its identity is revealed. There is no allowance
       for revelation by court order. Moreover, the inherent danger and hardship that would follow
       even an inadvertent disclosure convince the Court that it must protect the information at
       issue from discovery. For these reasons, the Defendants are entitled to withhold from
       discovery any material that would identify suppliers of lethal injection drugs or persons
       involved in the execution process.

       In addition to the established risk of supplier risk throughout numerous jurisdictions,

TDCJ’s supplier has, by declaration, indicated its intent to cease supplying TDCJ with the lethal

injection chemicals, should its identity be revealed: (Exhibit 4 attached)

       3. Pharmacy X has supplied lethal injection chemicals to the Texas Department of
          Criminal Justice for use in executions of death row inmates.

       4. Pharmacy X’s decision to supply the Texas Department of Criminal Justice with lethal
       injection chemicals was and is contingent on Pharmacy X’s identity remaining secret. If
       Pharmacy X’s identity is disclosed or revealed, Pharmacy X will no longer conduct
       business with (TDCJ).

       5. Pharmacy X did not and will not supply lethal injection chemicals to any state other
       than Texas under any circumstances.

       6. Pharmacy X reasonably fears that if its identity is disclosed or revealed, anti-death
       penalty advocates will harass and retaliate against Pharmacy X, resulting in physical and
       financial harm to Pharmacy X, its owner(s), and its employees.

       7. Pharmacy X’s fears are based, in part, on documentary evidence of threats, harassment,
       and boycotts to which other suppliers of lethal injection drugs have been subjected as a
       result of their lawful decision to supply state correctional departments with drugs needed
       to carry out executions.

       Recognizing state confidentiality interests in non disclosure of the details regarding

execution drug suppliers is First Amendment Coalition of Arizona, Inc., et al., v. Ryan, No. 2:14-

CV-01447-NVW-JFM, 2016 WL 2893413 *12 (D. Ariz. May 28, 2016):

       In Wellons v. Comm'r, Georgia Dept. of Corrections, 754 F.3d 1260 (11th Cir.2014), the
       Eleventh Circuit considered an inmate's claim that the state's failure to provide information
       about his execution violated his First Amendment right of access to governmental
       proceedings. The court denied the claim, explaining:

       Neither the Fifth, Fourteenth, or First Amendments afford Wellons the broad right “to
       know where, how, and by whom the lethal injection drugs will be manufactured,” as well


                                                 10
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 20 of 41



       as “the qualifications of the person or persons who will manufacture the drugs, and who
       will place the catheters.” ...Wellons has not established a substantial likelihood of success
       on the merits of his claim that the dearth of information regarding the nature of the
       pentobarbital that will be used in his execution and the expertise of those who will carry it
       out violates the First Amendment or his right to due process. Id. at 1267 (quotation omitted)

       In Zink v. Lombardi, 783 F.3d 1089, 1112-1113 (8th Cir.2015), the Eighth Circuit rejected

the prisoners' claim of a First Amendment right to information concerning the source of

compounded pentobarbital. The court first noted that it had never “ruled that an execution

constitutes the kind of criminal proceeding to which the public enjoys a qualified right of access

under the First Amendment.” Id. The court then explained that even if Press– Enterprise did apply

to executions, as the Ninth Circuit held in California First Amendment Coalition, the prisoners still

failed to state a First Amendment claim:

       In sum, the prisoners fail to state a claim of a qualified right of public access to information
       regarding the source of the compounded pentobarbital to be used in their executions
       because they do not plausibly allege a history of openness to the general public. The
       complaint likewise provides no basis to conclude that public access to detailed information
       about execution protocols plays a significant positive role in the functioning of the process
       in question, given that the practical effect of public disclosure would likely be frustration
       of the State's ability to carry out lawful sentences.

Under Texas law, it a crime to release the information set out in the subpoena:

       TEX.GOV’T CODE SEC. 552.1081

       Information is excepted from the requirements of Section 552.021 if it contains identifying
       information under Article 43.14, Code of Criminal Procedure, including that of:

       (1) any person who participates in an execution procedure, including a person who uses,
       supplies, or administers a substance during the execution; and

       (2) any person or entity that manufactures, transports, tests, procures, compounds,
       prescribes, dispenses, or provides a substance or supplies used in an execution.

       TEX. CODE OF CRIM. PROC. ART. 43.14(b)

       The name, address, and other identifying information of the following is confidential and
       excepted from disclosure under Section 552.021, Government Code:



                                                 11
Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 21 of 41



  (1) any person who participates in an execution procedure described by Subsection
  (a), including a person who uses, supplies, or administers a substance during the execution;
  and

  (2) any person or entity that manufactures, transports, tests, procures, compounds,
  prescribes, dispenses, or provides a substance or supplies used in an execution.

  TEX GOV’T CODE 552.352. DISTRIBUTION OR MISUSE OF CONFIDENTIAL
  INFORMATION.

  (a) A person commits an offense if the person distributes information considered
  confidential under the terms of this chapter.

  (a-1) An officer or employee of a governmental body who obtains access to confidential
  information under Section 552.008 commits an offense if the officer or employee
  knowingly:

  (1) uses the confidential information for a purpose other than the purpose for which the
  information was received or for a purpose unrelated to the law that permitted the officer or
  employee to obtain access to the information, including solicitation of political
  contributions or solicitation of clients;

  (2) permits inspection of the confidential information by a person who is not authorized to
  inspect the information; or
  (3) discloses the confidential information to a person who is not authorized to receive the
  information.

  (b) An offense under this section is a misdemeanor punishable by:

  (1) a fine of not more than $1,000;
  (2) confinement in the county jail for not more than six months; or
  (3) both the fine and confinement.

  (c) A violation under this section constitutes official misconduct.

  TEX. PEN. CODE SEC. 39.02 ABUSE OF OFFICIAL CAPACITY.

  (a) A public servant commits an offense if, with intent to obtain a benefit or with intent to
  harm or defraud another, he intentionally or knowingly:

  (1) violates a law relating to the public servant's office or employment; or

  (2) misuses government property, services, personnel, or any other thing of value
  belonging to the government that has come into the public servant's custody or possession
  by virtue of the public servant's office or employment.


                                           12
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 22 of 41



       (b) An offense under Subsection (a)(1) is a Class A misdemeanor.

       (c) An offense under Subsection (a)(2) is:

       (1) a Class C misdemeanor if the value of the use of the thing misused is less than $100;
       (2) a Class B misdemeanor if the value of the use of the thing misused is $100 or more but
       less than $750;

       (3) a Class A misdemeanor if the value of the use of the thing misused is $750 or more but
       less than $2,500;

       (4) a state jail felony if the value of the use of the thing misused is $2,500 or more but less
       than $30,000;

       (5) a felony of the third degree if the value of the use of the thing misused is
       $30,000 or more but less than $150,000;

       (6) a felony of the second degree if the value of the use of the thing misused is $150,000 or
       more but less than $300,000; or

       (7) a felony of the first degree if the value of the use of the thing misused is
       $300,000 or more.

       Courts have rejected compelling discovery detailing States’ supply chain of execution

drugs designated as confidential by state law. First Amendment Coalition of Arizona, Inc., et al.,

v. Ryan, No. 2:14-CV-01447-NVW-JFM, 2016 WL 2893413 *8, 14-15 (D. Ariz. May 28, 2016)

citing Jones v.Comm’r, Ga. Dep’t of Corr., 811 F.3d 1288, 1293 (11th Cir.2016), cert. den. Jones

v. Bryson, 136 S. Ct. 998 (2016) (Plaintiff sought the identity of the manufacturer of the drugs

Georgia intended to use to execute him, contrary to Georgia’s secrecy statute prohibiting such

disclosure. Noting that no other circuit had recognized such a right to manufacturer identity, the

Eleventh Circuit denied relief.); Trottie v. Livingston, 766 F.3d 450, 452 (5th Cir. 2014), cert. den.

135 S. Ct. 41 (2014) (Texas disclosed the type, amount, and expiration date of the drug to be used,

and the fact that independent laboratory testing confirmed the potency and purity of the drug; it

also confirmed that the execution would be carried out in conformity with its prior thirty-three

executions. The court found that the inmate’s speculation “that there are unknowns regarding the


                                                  13
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 23 of 41



drug to be used which may add an unacceptable risk of pain and suffering” was insufficient to

warrant general discovery into the process.”). In accord are Phillips v. DeWine, 92 F. Supp. 3d 702

(S.D. Ohio 2015); Owens v. Hill, 758 S.E. 2d 794 (Ga. 2014); Bryan v. State, 753 So. 2d 1244

(Fla. 2000); Kelley v. Johnson, et al, No CV-15-992 (Ark. 2016); Zink v. Lombardi, 783 F3d 1089

(8th Cir. 2015) (holding that public access to the identity of suppliers of drugs for lethal injections

does not play a significant role in the functioning of the process “given that the practical effect of

public disclosure would likely be frustration of the State’s ability to carry out a lawful

sentence”); Wellons v. Comm’r, 754 F.3d 1260 (11th Cir. 2014): In re Lombardi, 741 F.3d 888

(8th Cir. 2014); Sepulvado v. Jindal, 729 F.3d 413 (5th Cir. 2013): Valle v. Singer, 655 F.3d 1223

(11th Cir. 2011); Pardo v. State, 108 So. 3d 558 (Fla. 2012); Lockett v. Evans, 330 P.3d 488 (Okla.

2014); West v. Schofield, 460 S.W 3d 113 (Tenn. 2015); Schad v. Brewer, No. CV-13-2001-PHX-

ROS, 2013 WL 5551668 *9 (D. Ariz. 2013) (rejecting argument that “Defendants’ concealment

of the drug information violates their right to due process and meaningful access to the courts by

preventing them from discovering whether they have a colorable claim that their executions will

be carried out in violation of the Eighth Amendment.”)

VI.     Applicable Procedure

        The subpoena in the above styled cause is issued by a federal court district of Arkansas.

Under Rule 45(d)(2)(b)(i) and (d)(3), the court for the district where compliance is required has

jurisdiction to adjudicate objections to the subpoena. United States v. Omnicare, Inc., 2015 U.S.

Dist. LEXIS 104819 (M.D. Ga. 2015). (Dismissing a motion to quash for lack of jurisdiction

because the place of compliance was in Philadelphia, not in the Middle District of Georgia where

suit was filed). Here, though the suit is filed in an Arkansas federal court, TDCJ is directed to

produce the documents in Houston, Texas. Jurisdiction to adjudicate objections to the subpoena is




                                                  14
        Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 24 of 41



thus in the place of compliance is Houston, Texas.

            Upon serving of subpoena objections on the party issuing the subpoena, “the serving party

may move the court for the district where compliance is required for an order compelling production

or inspection.”

            FED. R. CIV. PROC. 45(d)(2)(B):

            (d) Protecting a Person Subject to a Subpoena; Enforcement.

            (2) Command to Produce Materials or Permit Inspection.

            (A) Objections. A person commanded to produce documents or tangible things or to permit
            inspection may serve on the party or attorney designated in the subpoena a written objection
            to inspecting, copying, testing, or sampling any or all of the materials or to inspecting the
            premises—or to producing electronically stored information in the form or forms
            requested. The objection must be served before the earlier of the time specified for
            compliance or 14 days after the subpoena is served. If an objection is made, the following
            rules apply:

            (i) At any time, on notice to the commanded person, the serving party may move
            the court for the district where compliance is required for an order compelling
            production or inspection.

            A non-party objecting to a subpoena is not subject to contempt sanctions for non compliance

with a subpoena if there is a reasonable basis for objection.7 Micro Motion, Inc. v. Kane Steel Co.,

894 F.2d 1318, 1322-23 (Fed. Cir. 1990) (“A nonparty may also merely object to production of

documents and things. By merely objecting, such discovery is foreclosed except pursuant to an order

of the court.”). Defective service/undue burden and assertion of privilege are reasonable bases for

non compliance of a subpoena.8


7
 FED. R. CIV. PR OC. 45(g) Contempt. The court for the district where compliance is required— and also, after a
motion is transferred, the issuing court— may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena or an order related to it.

8
     FED. R. CIV. PR OC. 45(d) (3)(A) Quashing or Modifying a Subpoena.
    (A) When Required. On timely motion, the court for the district where compliance is required must quash or modify
    a subpoena that:
    (iii)requires disclosure of privileged or other protected matter, if no exception or waiver applies;


                                                               15
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 25 of 41



VII.    Privilege Log

        The following rules govern assertion and adjudication of non party subpoena objections.

        FED. R. PROC. 26(b)(5):

        (5) Claiming Privilege or Protecting Trial-Preparation Materials.

        (A) Information Withheld. When a party withholds information otherwise discoverable by
        claiming that the information is privileged or subject to protection as trial-preparation
        material, the party must:

        (i) expressly make the claim; and

        (ii) describe the nature of the documents, communications, or tangible things not produced
        or disclosed—and do so in a manner that, without revealing information itself privileged or
        protected, will enable other parties to assess the claim.

        FED. R. CIV. PROC. 45(e)(2)(a)

        (5) Claiming Privilege or Protection.

        (A) Information Withheld. A Person withholding subpoenaed information under a
        claim that it is privileged or subject to protection as trial-preparation material must:

        (i) expressly make the claim; and
        (ii) describe the nature of the withheld documents, communications, or tangible
        things in a manner that, without revealing information itself privileged or protected,
        will enable the parties to assess the claim.

        Dole v. Milonas, 889 F.2d 885, 888 n.3 (9th Cir. 1991). This may include

        (1) the nature of the document
        (2) all persons or entities shown on the document to have received or sent the
        document.
        (3) all persons or entities known by the responding party to have been furnished the
        document or informed of its substance.

        (4) date the document was generated, prepared or dated.




(iv)subjects a person to undue burden.


                                                  16
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 26 of 41



          Plaintiffs’ Motion to Compel does not assert that the privilege log prepared at the time

TDCJ filed its objections to the subpoena, Exhibit 3 attached, did not adequately describe the

withheld documents or was otherwise deficient and accordingly, this Response to Plaintiffs’

Motion to Compel by TDCJ does not address the sufficiency of such log.

          Fed. R. Civ. P., Rule 45(d)(3)(A) (iii), (iv) permits objection to a subpoena seeking

privileged matters. Aeritas, LLC v. Delta Airlines, Inc., 2013 U.S. Dist.LEXIS 22654, *5 (N.D.

Ga., 2013). Dering v. Serv. Experts Alliance, LLC, 2007 U.S. Dist. LEXIS89972, *2 (N.D.Ga.

2007) (“The scope of subpoenas for production of documents pursuant to Rule 45 is the same as

the scope of discovery under Rule 26(b) and Rule 34."). Fed. R. Civ. P. 26(b) permits discovery

of non-privileged matter that is relevant to a claim or defense. An overbroad subpoena seeking

irrelevant information is objectionable. 9 The documents identified for production in Exhibit 1,

Attachment A are privileged. Tex. Code Crim. Proc. art. 43.14(b)(2) (2015) deems confidential,

information pertaining to “any person or entity that manufactures, transports, tests, procures,

compounds, prescribes, dispenses, or provides a substance or supplies used in an execution.”.10


9
  Bahrami v. Maxie Price Chevrolet-Oldsmobile, Inc., 2013 U.S. Dist. LEXIS 189691, *12-13 (N.D. Ga. 2013)
(granting motion to quash on grounds that requests were speculative, overbroad, and irrelevant). A showing of actual
relevance, not just possible relevance is required to overcome the protection provided to privileged information. Flynn
v. Roanoke Cos. Group, Inc., 2007 U.S. Dist. LEXIS 93716, 21 (N.D. Ga. 2007); E.E.O.C. v. S. Haulers, 2012 WL
1768064*3-4 (S.D. Ala. 2012); E.E.O.C. v. Original Honeybaked Ham Co. of Georgia, Inc., 2012 U.S.Dist. LEXIS
37107 *3 (D. Colo 2012; Liles v. Stuart Weitzman, LLC, 2010 U.S. Dist. LEXIS 53584, 2010 W L 1839229, *3 (S.
D. Fla. 2010); E.E.O.C. v. Jack Marshall Foods, Inc., 2010 U. S. Dist LEXIS 172, *6 (S. D. Ala 2010).
10
     TEX. CODE CRIM. PROC. ART 43.14(b):

The name, address, and other identifying information of the following is confidential and excepted from disclosure
under Section 552.021, Government Code:

(1) any person who participates in an execution procedure described by Subsection (a), including a person who uses,
supplies, or administers a substance during the execution; and

(2) any person or entity that manufactures, transports, tests, procures, compounds, prescribes, dispenses, or provides
a substance or supplies used in an execution.

TEX. GOV’T CODE SEC. 552.1081:



                                                          17
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 27 of 41



VIII. Documents identified in the subpoena are not relevant to this litigation

         The relevant facts and issues surrounding lethal injection protocol are summarized. In re

Ohio Execution Protocol Litigation, 881 F.3d 447, 449 (6th Cir. 2018):

         To obtain a preliminary injunction, a plaintiff must meet a four-factor test, Glossip v.
         Gross, ––– U.S. ––––, 135 S.Ct. 2726, 2736-37, 192 L.Ed.2d 761 (2015), though the
         “likelihood of success on the merits” factor is determinative here. The merits determination
         in this case is based on a two- part test in which Tibbetts and Campbell must first show that
         Ohio's execution protocol “presents a risk that is sure or very likely to cause serious pain
         and needless suffering.” In re Ohio Execution Protocol (Fears v. Morgan), 860 F.3d 881,
         886 (6th Cir. 2017) (en banc), cert. denied, ––– U.S. ––––, 137 S.Ct. 2238, 198 L.Ed.2d
         761 (2017) (quotation marks and citations omitted). If they can satisfy that first part, they
         must also “prove that an alternative method of execution is available, feasible, and can be
         readily implemented, among other things.” Id. at 890 (citing Glossip, 135 S.Ct. at 2737
         (quotation marks omitted)). “[P]risoners cannot successfully challenge a State's method of
         execution merely by showing a slightly or marginally safer alternative[;] [they] must
         identify an alternative that is feasible, readily implemented, and in fact significantly
         reduces a substantial risk of severe pain.” Glossip, 135 S.Ct. at 2737...

As noted in Hamm v. Dunn, 2018 WL 723104 *10 (N.D. Al., February 6, 2018):

         To prevail on an Eighth Amendment challenge to a State's method of execution, a prisoner
         must demonstrate that “the method presents a risk that is ‘sure or very likely to cause
         serious illness and needless suffering, and give rise to sufficiently imminent dangers.’ ”
         Glossip, 135 S.Ct. at 2737 (quoting Baze v. Rees, 553 U.S. 35, 50, 128 S.Ct. 1520, 170
         L.Ed.2d 420 (2008) (plurality opinion) ) (some quotation marks omitted) (emphases in
         original). In addition, “prisoners must identify an alternative that is feasible, readily
         implemented, and in fact significantly reduce[s] a substantial risk of severe pain.” Id.
         (quoting Baze, 553 U.S. at 52, 128 S.Ct. 1520) (second alteration in original); see also
         Gissendaner v. Comm'r, Ga. Dep't of Corr., 803 F.3d 565, 569 (11th Cir. 2015) (applying
         the readily-available alternative requirement to an as- applied challenge of a State's method
         of execution). The proposed alternative method “must significantly reduce a substantial
         risk of severe pain.” Arthur v. Comm'r, Ala. Dep't of Corr., 840 F.3d 1268, 1299 (11th Cir.
         2016).

         Glossip's ‘known and available’ alternative test requires that a petitioner must prove that

Information is excepted from the requirements of Section 552.021 if it contains identifying information under Article
43.14, Code of Criminal Procedure, including that of:

(1) any person who participates in an execution procedure, including a person who uses, supplies, or administers a
substance during the execution; and

(2) any person or entity that manufactures, transports, tests, procures, compounds, prescribes, dispenses, or provides
a substance or supplies used in an execution.



                                                         18
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 28 of 41



          (1) the State actually has access to the alternative; (2) the State is able to carry out the
          alternative method of execution relatively easily and reasonably quickly; and (3) the
          requested alternative would in fact significantly reduce a substantial risk of severe pain
          relative to the State's intended method of execution.

          Id. at 1299 (quotation marks and alteration omitted). The Eleventh Circuit has interpreted
          the “known and available” prong of Glossip's test to require that the plaintiff first show that
          the State's statutorily authorized method of execution is unconstitutional before proposing
          any other method that is not statutorily authorized. Id. at 1316–17; see also Boyd, 856 F.3d
          853, 867 (11th Cir. 2017).

          When a specific State’s use of drugs such as pentobarbital and midazolam in lethal

injections is challenged, the considerations for determining whether relief is warranted are

identified in Glossip. TDCJ’s storage, supplies or supply source of execution chemicals or drugs

has no relevance to any claim arising from the Arkansas Department of Corrections’ (ADC)

procedures in its administration of the death penalty. Whether Plaintiffs’ claims go to ADC’s use

of non use or protocol for administering drugs, records of TDCJ’s stores, supplies or supplier

of its drugs is not relevant. TDCJ execution procedures, purchase, use and storage of execution

chemicals are not relevant to any issue having to do with the constitutionality of ADC’s methods

and practices in administration of its laws. Production would be an undue burden as the material

is irrelevant and unnecessary as such information could be obtained from other sources:

          The Defendants counter that the Plaintiffs could themselves obtain information to support
          that claim by simply creating a list of pharmacies and calling them to determine whether
          any would be willing to sell pentobarbital to the Mississippi Department of Corrections for
          use in executions. …The Court has reviewed these arguments and the applicable law and
          is of the opinion that, on balance, the hardship to the Defendants of preventing them from
          obtaining lethal execution drugs outweighs the Plaintiffs' need for this information, which
          could be gathered by other means.11

          In accord are Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004)

(considering the relevance of information requested in the undue- burden test). In re Ohio



11
     Jordan v. Hall, NO.: 3:15CV295HTW-LRA, 2018 WL 1546632 at *9 (March 29, 2018).


                                                     19
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 29 of 41



Execution Protocol Litigation, No. 2:11-cv-1016, 2017 WL 5020138, (S.D. Ohio, November 3,

2017) (“...to challenge successfully a State's chosen method of execution, the plaintiffs must

‘establish that the method presents a risk that is sure or very likely to cause’ serious pain and

‘needless suffering’”, citing Glossip v. Gross, 135 S.Ct. 2726, 2737 (2015).

        Whether or not TDCJ has contacted people/entities about purchasing/obtaining

pentobarbital, what supplies it has or its supply sources and the content of such communication,

have no relevance to the issue identified in Glossip or to whether Arkansas has diligently attempted

to identify and procure suppliers, or whether such drugs are readily available to it. TDCJ’S means

and methods for obtaining and storing drugs to use in its own lethal injection procedures is not

material to the relevant inquiry of whether such drugs are reasonably available to ADC. As shown

by reference to the substantial risks of losing suppliers by other jurisdictions, providing such

documents would lead to the termination of services necessary to carry out lawful sentences even

with a protective order.12

There are three alternative lethal-injection protocols:

        1. FDA-approved ultra-short acting barbiturate.
        2. FDA-approved short- or intermediate-acting barbiturate.
        3. Compounded ultra-short acting barbiturate.

        Before     considering      compounded         pentobarbital—a         short    or    intermediate-acting

barbiturate— Plaintiffs should be required to prove that all other options are unavailable before

seeking discovery on their fourth lethal-injection alternative. Whether Plaintiffs claim that use of


 12
    Kelley v. Johnson, et al, No CV-15-992, 496 S.W .3d 346, 361-63 (Ark. 2016) Opinion, pp. 23-27 (“....the
 Prisoners have failed to demonstrate that the identity of the supplier of the drugs is germane to their cruel-or-
 unusual-punishment claim...As revealed in the decisions of Baze and Glossip, it has become a matter of common
 knowledge that states which sanction capital punishment have encountered increasing difficulties in obtaining
 drugs that are used to carry out the sentence of death by lethal injection...As has been well documented, disclosing
 the information is actually detrimental to the process.”
 https://caseinfo.aoc.arkansas.gov/cconnect/PROD/public/ck_public_qry_doct.cp_dktrpt_setup_idx



                                                         20
     Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 30 of 41



or failure to use pentobarbital violates Arkansas law or the Eighth and Fourteenth Amendments,

TDCJ’s contacts with people/entities regarding purchasing/obtaining/using pentobarbital in its

own execution procedure has no relevance to such an issue or any other issue in this case.

         Tex. Code Crim. Proc. art. 43.14(b)(2) and Tex. Gov't Code Sec. 552.1081 deem

confidential information regarding “any person or entity that manufactures, transports, tests,

procures, compounds, prescribes, dispenses, or provides a substance or supplies used in

execution.” Tex. Gov’t. Code Sec. 552.1081(excepting from disclosure under Section 552.021,

identifying information listed under Article 43.14, Code of Criminal Procedure). 13 A privilege

bars discovery of protected materials and precludes their admission as evidence. Somer v. Johnson,

704 F.2d 1473, 1479 (11th Cir. 1983). The “details of any execution chemical or drug” that TDCJ

has purchased since 2001 or since 1848 has no relevance to ADC’s execution procedures. This

request is overbroad and unduly burdensome in its designation of records of events at TDCJ for

the past 27-170 years. Dering v. Serv. Experts Alliance LLC, 2007 U.S. Dist. LEXIS 89972 *2

(N.D. Ga. 2007) (“The scope of subpoenas for production of documents pursuant to Rule 45 is the

same as the scope of discovery under Rule 26(b) and Rule 34.”). Fed. R. Civ. Proc. 26(b) permits

discovery of non-privileged matter that is relevant to a claim or defense. The material sought by

this subpoena is overbroad, irrelevant. Bahrami v. Maxie Price Chevrolet-Oldsmobile, Inc., 2013

U.S. Dist. LEXIS 189691 *12-13 (N.D. Ga. 2013) (denying subpoena enforcement because the

requests were speculative, overbroad and irrelevant.).



13
   TEX. CODE. CRIM. PROC. ART. 43.14(b). The name, address, and other identifying information of the following
is confidential and excepted from disclosure under Section 552.021, Government Code:

(1) any person who participates in an execution procedure described by Subsection (a), including a person who uses,
supplies, or administers a substance during the execution; and
(2) any person or entity that manufactures, transports, tests, procures, compounds, prescribes, dispenses, or provides
a substance or supplies used in an execution.


                                                         21
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 31 of 41



       Tex. Code Crim. Proc. art. 43.14(b)(1)(2) deems confidential documents regarding “any

person who participates in the execution procedure . . . including any person who uses, supplies,

or administers a substance during the execution” and “any person or entity that manufactures,

transports, tests, procures, compounds, prescribes, dispenses, or provides a substance or supplies

used in an execution.” Drugs are stored by TDCJ employees who can reasonably be regarded as

persons participating in execution procedures within the above meaning. Such records are

privileged and confidential. Exhibit 1 may be quashed as was done with a similar subpoena in

Georgia Dept. of Corrections v. Jordan et al., Cause No. 1:16-cv-02582-RWS-JCF, 2016 WL

9776069 *8 (N. D. Ga.2016) page 8. (“The Eleventh Circuit’s view of Georgia’s Lethal Injection

Secrecy Act firmly forecloses Jordan and Chase’s efforts to secure the information sought by the

subpoena, and therefore the motion to quash (Doc 1) is due to be GRANTED.”).

       Statutory privileges similar to Article 43.14(b)(2) of the Texas Code of Criminal Procedure

have been upheld as constitutional. For example, O.C.G.A 42-5-36, the Georgia Lethal Injection

Secrecy Act states:

       The identifying information of any person or entity who participates in or administers the
       execution of a death sentence and the identifying information of any person or entity that
       manufactures, supplies, compounds, or prescribes the drugs, medical supplied, or medical
       equipment utilized in the execution of a death sentence shall be confidential and shall not
       be subject to disclosure under Article 4 of Chapter 18 of Title 50 or under judicial process.
       Such information shall be classified as a confidential state secret.

       The Georgia statute was held constitutional. Owens v. Hill, 295 Ga. 302 (2014). If the

subpoena issuer has not met its relevancy burden that outweighs the interests a State has in non

disclosure, the Court may not permit discovery. Porter v. Ray, 461 F.3d 1315 (11th Cir. 2006); In

re Grand Jury Proceedings, 832 F.2d 554, 560 (11th Cir. 1987). (holding that federal court may

uphold a state law privilege when doing so would not substantially burden federal policy).

       As in the State of Georgia, Texas has a strong interest in preventing information about its


                                                22
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 32 of 41



procurement of drugs for lethal injections. TEX. GOV’T CODE SEC. 552.1081, TEX. CODE

CRIM. PROC. ART. 43.14(b), TEX. GOV’T CODE 552.352 and TEX. PEN. CODE. SEC.

39.09. Taylor v. Nix, 451 F. Supp. 2d 1351, 1354 (N. D. Ga. 2006) (recognizing that “the State of

Georgia has a compelling and justifiable interest in creating and preserving its state secrets

privilege”). Wellons v. Comm’r, Ga. Dep’t of Corr., 754 F.3d 1260, 1267 (11th Cir. 2014) (cert

den. Wellons v. Owens, 134 S.Ct. 2838 (2014) (holding that “neither the Fifth, fourteenth, or First

Amendments afford the [capital defendant] the broad right to know where, how, and by whom the

lethal injection drugs will be manufactured”); Gissandaner v. Ga. Dep’t of Corr., 779 F.3d 1275,

1283 (11th Cir. 2015 (cert. den. Gissandander v. Bryson, 135 S. Ct. 1580 (2015) (holding that in

an eighth amendment challenge, the source of the drug and the qualifications of the individual

administering it are not relevant). Arkansas has upheld the confidentiality of its prison system’s

lethal injection protocol in Kelley v. Johnson, et al, 496 S.W.3d 346 (Ark. 2016):

       Discovering the identity of the supplier does not aid their cause, nor will the lack of
       knowledge hinder their ability to prove their contention that the protocol is constitutionally
       suspect. The circuit court clearly erred in ruling that disclosure is required as a matter of
       due process. We are in agreement with other courts who have reached a similar conclusion.
       See, e.g., Zink v. Lombardi, 783 F3d 1089 (8th Cir. 2015); Wellons v. Comm’r, 754 F.3d
       1260 (11th Cir. 2014); In reLombardi, 741 F.3d 888 (8th Cir. 2014); Sepulvado v. Jindal,
       729 F.3d 413 (5th Cir. 2013): Valle v. Singer, 655 F.3d 1223 (11th Cir. 2011); Phillips
       v. DeWine, 92 F. Supp.3d 702 (S.D. Ohio 2015): Pardo v. State, 108 So. 3d 558 (Fla. 2012);
       Lockett v. Evans, 330 P.3d 488 (Okla. 2014); West v. Schofield, 460 S.W. 3d 113 (Tenn.
       2015)...the Prisoners have failed to demonstrate that the identity of the supplier of the drugs
       is germane to their cruel-or-unusual- punishment claim...As revealed in the decisions of
       Baze and Glossip, it has become a matter of common knowledge that states which sanction
       capital punishment have encountered increasing difficulties in obtaining drugs that are used
       to carry out the sentence of death by lethal injection...As has been well documented,
       disclosing the information is actually detrimental to the process. See Zink, 783 F.3d at 1113
       (holding that public access to the identity of suppliers of drugs for lethal injections does
       not play a significant role in the functioning of the process “given that the practical effect
       of public disclosure would likely be frustration of the State’s ability to carry out a lawful
       sentence”).
       ...




                                                 23
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 33 of 41



       Courts that have addressed the issue have upheld the laws keeping the identity of the supplier
       of lethal-injection drugs confidential”, citing Phillips v. DeWine, 92 F. Supp. 3d 702 (S.D.
       Ohio 2015); Owens v. Hill, 758 S.W. 2d 794 (Ga. 2014); Bryan v. State, 753, So. 2d 1244
       (Fla. 2000); Lockett v. Evans, 330 P.3d 488 (Okla. 2014).

       In Kelley v. Johnson, No CV-15-992, 496 S.W .3d 361-63 (Ark. 2016) the Arkansas

Supreme Court noted in its opinion on page 18 that the Arkansas prison system had submitted an

affidavit that it “had made unsuccessful attempts to obtain a barbiturate to use in carrying out

capital punishment by lethal injection. Kelley said that potential suppliers of lethal drugs declined

to sell them to ADC, and she explained that the sellers were concerned about adverse publicity and

the loss of business if they were identified as suppliers of drugs used for executions.”

       Federal law protects the privacy of individuals who are not parties to an action, especially

where, as here, the subpoena seeks information irrelevant to any claim or defense in the above styled

cause. Premium Serv. Corp. v. Sperry & Hutchinson Co., 511 F.2d 225, 229 (9th Cir. 1975); Small

v. Provident Life and Acc. Ins. Co., No. CIV. A. 98–2934, 1999 WL 1128945, *2 (E.D. Pa. 1999).

The privacy interests of individuals and entities that participate or administer executions or

manufacture/supply execution drugs need to be protected for their safety. By reaching for

documents more than twenty (27) years old-from 1991, to the present, or more than 170 years old

from 1848, the subpoena is unduly burdensome, overbroad and seeks irrelevant material.

Balancing Texas’ interest in protecting these records from disclosure with Plaintiffs’ failure to

meet their relevancy burden under Rules 26 and 45, the subpoena is properly objected to. Fed. R.

Civ. P. 26(c)(1).A district     court may      “protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.”); Wiwa v. Royal Dutch Petroleum Co.,

392 F.3d 812, 818 (5th Cir. 2004) (considering the relevance of information requested in the

undue-burden test).

       Who TDCJ has contacted about or purchased pentobarbital from is not relevant to whether


                                                 24
     Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 34 of 41



(ADC) has diligently attempted to find drug suppliers. It does not do show whether execution

drugs are readily available to ADC. The relevant inquiry would be what efforts ADC—not

TDCJ—made to procure a supplier. Disclosure of supplier information exposes TDCJ to a

substantial risk that drug suppliers will cease providing drugs that are essential to carry out lawful

Texas sentences even with a protective order.14

         There are three other alternative lethal-injection protocols—FDA-approved ultra-short

acting barbiturate, FDA-approved short- or intermediate-acting barbiturate, and compounded

ultra- short acting barbiturate—before considering compounded pentobarbital— a short- or

intermediate- acting barbiturates. Plaintiffs should be required to prove that all other options are

unavailable before seeking discovery on their fourth lethal-injection alternative. TDCJ’s contacts

with people/entities regarding purchasing/obtaining pentobarbital and its use under Texas law

prove nothing as to whether ADC diligently sought but failed to procure a supplier. Knowing

Texas’ source for pentobarbital does not establish that this drug is readily available to ADC.

Glossip v. Gross, 135 S. Ct. 2726, 2738 (2015) (recognizing state policy interests in non disclosure

and holding that a prisoner must establish the existence of a known and available alternative

method of execution that would entail a significantly less severe risk than the regimen in place).

        The identity of Texas’ supplier does not rebut, confirm or tend to prove whether “alternative

methods of execution” are “feasible, readily implemented” by ADC. Even if relevance could be

shown, the harm of disclosure outweighs Plaintiffs’ need for these documents. McGoy v. Ray, 164

Fed. Appx. 876, 878 (11th Cir. 2006) (balancing the party’s need against the burden of disclosing



14
  A sealed document was inadvertently published unredacted in the Paul Manafort prosecution which shows that
protective orders can fail, even in the highest of profile cases. https://www.cnn.com/2018/06/13/politics/manafort-
witness-tampering-names/index.html




                                                         25
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 35 of 41



confidential documents, finding that “the court did not abuse its discretion when it found the facts

did not rise to the level necessary to overcome the state’s interest in maintaining the confidentiality

of their parole records.”); Taylor v. Nix, 451 F. Supp. 2d 1351, 1354 (N. D. Ga. 2006) (denying the

plaintiff’s motion to compel confidential parole records based on the State’s “compelling and

justifiable interest” in preserving its confidential records); Without confidentiality, Texas incurs a

substantial risk that its drug source will refuse to provide Texas a way to conduct its lawful

executions. Owens, supra, 295 Ga. at 317 (“without the confidentiality offered to execution

participants by the statute, as the record and our case law show, there is a significant risk that

persons and entities necessary to the execution would become unwilling to participate.”);

Gissandaner v. Commissioner,Georgia Department of Corrections, 803 F.3d 565, 569 (11th Cir.

2015) (“to require...that Georgia open up about its source of pentobarbital would result in the drug

becoming completely unavailable for use in executions.”); Gissendaner v. Ga. Dep’t of Corr., 779

F.3d 1275 (11th Cir. 2015); Terrel v. Bryson, 807 F. 3d 1276 (11th Cir. 2015); Jones v. Comm’r,

Ga. Dep’t of Corr., 811 F.3d 1288 (11th Cir.2016) (rehearing en banc denied, 812 F.3d 923 (11th

Cir. 2016).
                                                                                          th
       In Wellons v. Comm’r, Ga. Dep’t of Corr., 754 F.3d 1260, 1262-64, 1267 (11 Cir. 2014)

cert den. Wellons v. Owens, 134 S.Ct. 2838 (2014), the offender argued that the risks of using

pentobarbital from an undisclosed source posed a substantial threat of undue pain and suffering and

that the Georgia DOC was denying him the information necessary to determine whether his Eighth

Amendment rights might be violated. The Court held that “neither the Fifth, Fourteenth, or First

Amendments afford Wellons the right “to know where, how, and by whom the lethal injections will

be manufactured.”). Texas’ confidentiality statute does not prevent Plaintiffs from contacting Texas

compounding pharmacies and inquiring whether such pharmacies will supply execution drugs to



                                                  26
      Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 36 of 41



ADC. Texas should not be placed at risk of losing its supplier by disclosure when compounding

pharmacies throughout the United States and abroad may be contacted directly to determine

whether they are able and willing to provide execution drugs to ADC.

        In Arthur v. Dunn, 2016 U.S. Dist. LEXIS 50756, *24 (M. D. Ala 2016), the Court found

that pentobarbital was not readily available to Alabama. The Court held that proof that other states

such as Virginia, Texas, Missouri and Georgia have procured pentobarbital does not prove that a

feasible and readily available alternative exists for Alabama, nor does it establish that pentobarbital

is available to Alabama. In the case at bar, a showing that Texas has obtained pentobarbital does

not satisfy Plaintiffs’ burden of showing that ADC has a readily available alternative execution

protocol. Capital offenders have no right to protected execution materials. Jones v. Comm’r, Ga.

Dep’t of Corr., 812 F.3d 923, 926 (11th Cir.2016).

        We ought to be particularly reluctant to interfere in Georgia’s enforcement of its lethal
        injection protocol since its current protocol- using compounded pentobarbital provided by
        an undisclosed source- has actually been used at least seven times in the last year, without
        incident...Even if we were to grant him the relief he seeks-declaring the Georgia secrecy
        statute unconstitutional-we do not see how Jones would benefit. He would have us strike
        down Georgia’s secrecy law, overturn Wellons, and require the district court to allow
        discovery about Georgia’s source of pentobarbital, all in the hope that learning the identity
        of the manufacturer will somehow provide a springboard to establish a potential, if currently
        unidentifiable, infirmity in Georgia’s execution protocol. That asks us to do too much.

        TDCJ has established, through precedent, that disclosure of the documents sought in

Exhibit 1 is likely to lead to the termination of services necessary to carry out lawful sentences.

IX.     Deliberative Process Privilege

        The deliberate process privilege protects the internal deliberations of agencies in order to

allow them to explore different possibilities and engage in internal debates without fear of public

scrutiny. Ga. Aquarium, Inc. v. Pritzker, 134 F. Supp. 3d 1374, 1378 (N.D. Ga. 2014). To the

extent that the subpoena reaches TDCJ’s deliberative process for determining lethal injection



                                                  27
     Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 37 of 41



protocol, selection of drugs or legal deliberations in anticipation of litigation, documents are

privileged attorney/work product. Electronic Data Systems Corp. v. Steingraber, 2003 WL

21653414 (E.D. Tex.2003).

X.     Plaintiffs’ argument that any TDCJ employee may be served with a subpoena has
       no merit

       On page 4, fn. 3 of Plaintiffs’ Motion to Compel, without citing authority, claims that by

producing some documents voluntarily, TDCJ waived its service objections. This argument may

be disregarded as inadequately briefed. Yohey v. Collins, 985 F.2d 222, 224-25 (5th Cir. 1993)

(holding that even pro se appellants must brief arguments in order to preserve them). Doss v.

Helpenstell, 699 Fed.Appx. 337, 338 (5th Cir. 2017) (“Pro se appellants must brief their

arguments, even if minimally, in order to preserve them…Doss therefore waived any argument in

this respect.”). Under Rule 45, Fed. R. Civ. Proc., a subpoena must be served on an individual who

has control of the records sought to be produced. McClendon v. TelOhio Credit Union, Inc., No.

2:05–CV–1160, 2006 WL 2380601 (S.D.Ohio Aug.14, 2006); Taylor v. Countrywide Home

Loans, No. 08–13258, 2009 WL 1913417, at *5 (E.D.Mich. June 30, 2009); Benford v. American

Broadcasting, 98 F.R.D. 40, 41 (D.Md.1983); Chima v. U.S. Department of Defense, 23 F.App'x

721, 725 (9th Cir.2001) (holding that subpoenas not personally served were “defectively served”);

Laun v. Laun, No. 1:06–CV–246, 2007 WL 178607, at *1 n. 1 (N.D.Ind. Jan.19, 2007) (holding

that service by certified mail meets the requirements of Rule 45); Doe v. Hersemann, 155 F.R.D.

630 (N.D.Ind.1994) (holding that service of a subpoena via certified mail is sufficient under Rule

45); Franklin v. State Farm Fire and Cas. Co., No.2009 WL 3152993, at *2 (E.D.Mich. Sept. 30,

2009) (authorizing service of subpoena via certified mail). Plaintiffs have done neither as to the

custodians of the records.

       In Powell v. Time Warner Cable, Inc., No. 2:09–cv–00600, 2010 WL 5464895 at *3 (S.D.


                                               28
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 38 of 41



Ohio Dec. 30, 2010), TWC served the proper individual and respondent MT accepted the subpoena

without filing objections to service until it filed a response nearly two months after the subpoena

was issued:

        … MT accepted service of the subpoena without raising the issue of improper service, even
        though it raised several other objections. MT first objected to TWC's method of service in
        its Response, nearly two months after TWC issued the subpoena. Under these
        circumstances, even if the Court were to interpret Rule 45 to require personal service, MT
        has waived any claim of defective service.

        Unlike MT, TDCJ filed timely objections within 14 days of service as required by Fed. R.

Civ. Proc. 45(d)(2)(b), bringing to Plaintiffs’ attention that the proper individual was not served

and offering to provide Plaintiffs the contact information of the TDCJ custodian of the records

sought. Plaintiffs expressed no interest in serving TDCJ’s records custodians and never inquired

as to the identity and contact information of TDCJ’s records custodians. While in Powell, an Ohio

federal district court opinion, MT was found to have failed to timely object to service, it has no

precedential value in a Texas federal district court. Daubert v. NRA Group, LLC, 861 F.3d 382

(3rd Cir. July 3, 2017). (“[a] decision of a federal district court judge is not binding precedent in

either a different judicial district, the same judicial district, or even upon the same judge in a

different case.”); Camreta v. Greene, 563 U.S. 692, 709 n.7, 131 S.Ct. 2020, 179 L.Ed.2d 1118

(2011) (quoting 18 James W. Moore et al., Moore's Federal Practice § 134.02[1][d] (3d ed.

2011)); Threadgill v. Armstrong World Indus., Inc., 928 F.2d 1366, 1371 (3d Cir. 1991) (“[I]t is

clear that there is no such thing as ‘the law of the district.’ ”).

                                            CONCLUSION

         The subpoena was not served, with applicable fees, on the TDCJ’s records custodians.

Sheri Jackson is not in possession or control of the records identified in the subpoena. A court

may not compel a person to produce records the person does not possess or control. Fed. R. Civ.

Proc. 45(g) does not permit the Court to hold a person in contempt who has an adequate excuse


                                                    29
       Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 39 of 41



for not producing documents:

           (g) CONTEMPT. The court for the district where compliance is required—and also, after
           a motion is transferred, the issuing court—may hold in contempt a person who, having
           been served, fails without adequate excuse to obey the subpoena or an order related to it.

           The records custodians identified above, who do have the ability to produce the documents,

have not been served. The Plaintiffs have expressed no interest in learning their identities or in

attempting to serve them. In addition, the items identified in this subpoena are privileged from

disclosure by Texas statutes, the categories of documents requested are unduly broad,

burdensome, and irrelevant to any issue in litigation and include documents between 27 and 170

years ago. Accordingly, Sherri Jackson and TDCJ ask that this Court deny and dismiss Plaintiffs’

Motion to compel for the reasons stated and as permitted by Fed. R. Civ. Proc. 12(b)(4), (5), (6)

and 45(D)(2)(B).15

                                                          Respectfully Submitted,

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15
     FED. R. CIV. PR OC.45(d)(2)(B) states:
(d) Protecting a Person Subject to a Subpoena; Enforcement.
(2) Command to Produce Materials or Permit Inspection.
Objections. A person commanded to produce documents or tangible things or to permit inspection may serve on
the party or attorney designated in the subpoena a written objection to inspecting, copying, testing, or sampling
any or all of the materials or to inspecting the premises…



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Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 40 of 41



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                                  31
    Case 4:18-mc-01546 Document 12 Filed in TXSD on 06/25/18 Page 41 of 41



                                CERTIFICATE OF SERVICE

       I, DEMETRI ANASTASIADIS, Assistant Attorney General of Texas, certify that a copy of

the above has been served via electronic mail on this 25TH day of June, 2018, to:

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                                               32
